Case 7:24-cv-00114-B       Document 186        Filed 06/28/25      Page 1 of 2      PageID 1283



                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                            WICHITA FALLS DIVISION

  X CORP.,                                        )
                                                  )
                        Plaintiff,                )
             v.                                   )
                                                  )
  WORLD FEDERATION OF                             )
  ADVERTISERS; MARS,                              )
  INCORPORATED; CVS HEALTH                        )
  CORPORATION; ØRSTED A/S; TWITCH                 )
  INTERACTIVE, INC.; NESTLÉ S.A.;                 )    Civil Action No. 24-cv-00114-B
  NESTLE USA, INC.;                               )
  ABBOTT LABORATORIES;                            )
  COLGATE-PALMOLIVE COMPANY;                      )
  LEGO A/S; LEGO BRAND RETAIL, INC.;              )
  PINTEREST, INC.; TYSON FOODS, INC.;             )
  SHELL PLC; SHELL USA, INC.; and                 )
  SHELL BRANDS INTERNATIONAL AG,                  )
                                                  )
                                                  )
                        Defendants.


 NOTICE OF DISMISSAL OF CLAIMS AGAINST SHELL PLC PURSUANT TO FRCP
                             41(a)(1)(A)(i)

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff X Corp. hereby

dismisses without prejudice its claims against Defendant Shell plc. Shell plc has not served an

answer or a motion for summary judgment. Plaintiff and Shell plc will each bear their own fees

and costs.

       Plaintiff’s claims against all other Defendants are unaffected by this dismissal and remain

pending.
Case 7:24-cv-00114-B   Document 186   Filed 06/28/25     Page 2 of 2        PageID 1284



June 28, 2025                             Respectfully submitted.


                                          /s/ John C. Sullivan
                                          John C. Sullivan
                                          Texas Bar No. 24083920
                                          john.sullivan@the-sl-lawfirm.com
                                          Jace R. Yarbrough
                                          Texas Bar No. 24110560
                                          jace.yarbrough@the-sl-lawfirm.com
                                          S|L LAW PLLC
                                          610 Uptown Blvd., Suite 2000
                                          Cedar Hill, TX 75104
                                          Phone: (469) 523-1351
                                          Facsimile: (469) 613-0891


                                          DHILLON LAW GROUP, INC.
                                          Christopher G. Renner*
                                          (DC Bar No. 1025699)
                                          cgrenner@dhillonlaw,com
                                          (571) 430-2240 (voice and fax)
                                          Jonathan M. Shaw*
                                          (Virginia Bar No. 98497)
                                          jshaw@dhillonlaw.com
                                          (703) 748-2266 (voice and fax)
                                          Andrew K. Mann*
                                          (Virginia Bar No. 77021)
                                          akmann@dhillonlaw.com
                                          (571) 695-2677 (voice and fax)
                                          2121 Eisenhower Avenue, Suite 608
                                          Alexandria, VA 22314

                                           * admitted pro hac vice

                                          Attorneys for Plaintiff X Corp.
